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NEW BEDFORD POLICE DEPARTMENT 2006-10132

871 Rockdale Avenue, New Bedford, MA 02740
UCR OFFENSE REPORT

 

Report Title: POSS W/T CLASS B SCHCOL Abuse: N Hate Crime: N
Incident Occurred From: 06/17/2006 11:15 To: 24
Call Info - Received: 06/17/2006 11:30 Arrived: 11:30 Completed: 12:04
Incident Address: 51 TALLMAN ST Apté#:

 

 

SUMMARY OF OFFENSES

Statute: 94C,327.802 POSS INTENT TO DISTRIBUTE CLASS B SCHOOL ZONE

 

 

 

 

 

 

BUSINESS
TOA: VICTIM Vic Type: SOCIETY/PUBLIC Vic#: 1
Name: CRIMES AGAINST SOCIETY Type: SOCIETY
Address: NIBRS VICTIM - SOCIETY Apt/Unit: City: NEW BEDFORD St: MA
Zip: Area Phone:
Synopsis:
PERSONS
PCF: 00002845802
Person Type: ARRESTED OR SUMMONED - ARREST APPLICATION MNT: 184681 Seq#: 02
Name: MCKISSACK, TERRILL R Race: BLACK Sex: MALE DOB: 11/21/1987
Address: 477 N FRONT sT Apt/Unit: ist Age at Time of Report: 18
City: NEW BEDFORD SSN: XXX-XX-XXXX Celli Phone:
State: MASSACHUSETTS Zip: 02745 Home Phone: 774-202-6770
Employer: Work Phone:
Occupation: DROP-OUT/ NOT IN THE WORK FO
Driver's License#: $73233877 State: MA Status: REVOKED
Other ID#t: State: Type:
Hgt: 5'5" Wgt: 125 ibs Eye Color: BROWN Build: LIGHT Skin: DARK
Hair: BLACK Length: SHORT Style: AFRO
Marks/Scars/Tattoos Type: Lecation:
Side: Desc:
AKA: MCKISSACK, TERRILL
Clothing:
Words:
Actions:
Short Synopsis: POSSESSION W/I CLASS B COCAINE SCHOOL
Statement:
PCF:

 

 

 
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Person Type: ARRESTED OR SUMMONED - ARREST APPLICATION MNI: 181188 Seq#: 05
Name: ALVAREZ, PRISCILLA Race: WHITE Sex: FEMALE DOB: 04/25/1988
Address: 325 N FRONT ST Apt/Unit: 2W Age at Time of Report: 18
City: NEW BEDFORD SSN: XXX-XX-XXXX Cell Phone:
State: MASSACHUSETTS Zip: 02740 Home Phone:
Employer: Work Phone:
Occupation: UNEMPLOYED - DISABLED
Driver's License#: State: Status:
Other ID#: State: Type:
Hgt: 5*0" Wgt: 125 lbs Eye Color: BROWN Build: LIGHT Skin: MEDIUM
Hair: BROWN Length: LONG Style: CORNROWS/BRAIDED
Marks/Scars/Tattoos Type: Location:
Side: Desc:
AKA: ALVAREZ, PRECILA
Clothing:
Words:
Actions:
Short Synopsis: DISORDERLY CONDUCT
Statement:
PCF:
Person Type: ARRESTED OR SUMMONED - ARREST APPLICATION MNT: 211544 Seq#: 03
Name; BONNEAU, MELANIE Race: WHITE Sex: FEMALE DOB: 03/02/1988
Address: 493 RIVET ST Apt/Unit: 18ST Age at Time of Report: 18
City: NEW BEDFORD SSN; XXX-XX-XXXX Cell Phone:
State: MASSACHUSETTS Zip: 02740 Home Phone: 508-979-1121
Employer: Work Phone:
Occupation:
Driver's License#: State: Status:
Other ID#: State: Type:
Hgt: 5'2" Wgt: 125 lbs Eye Color: BROWN Build: LIGHT Skin: LIGHT
Hair: BLACK Length: LONG Style: WAVEY
Marks/Scars/Tattocs Type: Location:
Side: Desc:
AKA:
Clothing:
Words:
Actions:
Short Synopsis: POSSESSION CLASS D MARIJUANA
statement:
PCF:
Person Type: ARRESTED OR SUMMONED - ARREST APPLICATION MNI: 189792 Seq#: O21
Name: ENCARNACION, RICARDO ADAM Race: WHITE Sex: MALE DOB: 05/12/1982
Address: 307 N FRONT st Apt/Unit: 18T FL Age at Time of Report: 24
City: NEW BEDFORD SSN: 562-867-5289 Cell Phone:
State: MASSACHUSETTS Zip: 02745 Home Phone: 508-997-4119
Employer: Work Phone:
Occupation: UNEMPLOYED
Driver's License#: A0d742B66 State: MA Status: SUSPENDED
Other ID#: State: Type:
Het: 518" Wgt: 146 lbs Eye Color: BROWN Build: LIGHT Skin: MEDIUM
Hair: BLACK Length: MEDIUM Style: STRAIGHT
Marks/Scars/Tattoos Type: TATTOO Location: ARM

 

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Side: LEFT Desc: HILLDA
AKA:
Clothing:
Words:
Actions:
Short Synopsis: POSSESSION W/I CLASS B COCAINE SCHOOL
statement:
PCF:
Person Type: ARRESTED OR SUMMONED - ARREST APPLICATION MNI: 167095 Seq#: 04
Name: SANCHEZ, LUIS Race: WHITE Sex: MALE DOB: 03/27/1989
Address: 95 GRANT ST Apt /Unit: Age at Time of Report: 17
City: NEW BEDFORD SSN: Cell Phone:
State: MASSACHUSETTS Zip: 02745 Home Phone: 508-994-0298
Employer: Work Phone: 774-202-5364
Occupation: STUDENT
Driver's Licensef#: State: Status:
Other ID#: State: Type:
Hgt: 5'4" Wot: 135 lbs Eye Color: BROWN Build: LIGHT Skin: MEDIUM
Hair: BROWN Length: LONG Style: BRAIDED
Marks/Scars/Tattoos Type: Location:
Side: Desc:
AKA?
Clothing:
Words:
Actions:
Short Synopsis: POSSESSION W/I CLASS B COCAINE SCHOOL
Statement:

 

 

 

NO OTHER POLICE OCFFICER WITNESSES ASSOCIATED TO THIS REPORT

 

 

ARREST OR SUMMONS INFORMATION

Person Type: ARRESTED OR SUMMONSED Name: MCKISSACK, TERRILL R Seq#:
Arrest Date: 06/17/06 Time: 11:30 MNI#: 184681 OBTN#: TNEBOOO0O75452
Arrest Type: ARRESTED ON VIEW Location: 51 TALLMAN ST

DOB: 11/21/1987 Age: 19

Arrested by: 3757 RAMOS, SHAIN E

Charges:
Chap: 94€ Sec:34 Charge: UNLAWFUL POSSESSION CLASS D SUBSTAN
Chap:94C Sec:40 Charge: CONSPIRACY TO VIOLATE CONTROLLED SU

Chap:266 Sec:120 Charge: TRESPASS PRIVATE PROPERTY

Prisoner's Property:

 

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PAGE 4
$411.00 SEIZED
BELT
CHANGE
Person Type: ARRESTED OR SUMMONSED Name: ALVAREZ, PRISCILLA Seq#:
Arrest Date: 06/17/06 Time: 11:30 MNI#: 181188 OBTN#: TNEBOOO0O75456
Arrest Type: ARRESTED ON VIEW Location: 51 TALLMAN ST
DOB: 04/25/1988 Age: 18
Arrested by: 3757 RAMOS, SHAIN E
Charges:
Chap:17 Sec:l Charge: DISORDERLY CONDUCT
Chap:268 Sec:32B Charge: INTERFERE WITH POLICE OFFICER
Prisoner's Property:
(2) EAR RINGS
(2) ELASTICS
Person Type: ARRESTED OR SUMMONSED Name: BONNEAU, MELANIE Seq#:
Arrest Date: 06/17/06 Time: 11:30 MNI#: 211544 OBTN#: TNEBOO0075453

Arrest Type: ARRESTED ON VIEW Location: 51 TALLMAN ST
DOB: 03/02/1988 Age: 19

Arrested by: 3757 RAMOS, SHAIN E
Charges:

Chap:266 Sec:120 Charge: TRESPASS PRIVATE PROPERTY
Chap: 94C Sec:34 Charge: UNLAWEUL POSSESSION CLASS D SUBSTAN
Chap:94C Sec:40 Charge: CONSPIRACY TO VICLATE CONTROLLED SU

Prisoner's Property:

BELT

GLASSESS

{3} GOLD CHAINS
2 ELASTIC

Person Type: ARRESTED OR SUMMONSED Name: BNCARNACION, RICARDO ADAM Seq#:
Arrest Date: 06/17/06 Time: 11:30 MNI#: 189792 OBTN#: TNEBOO0075451
Arrest Type: ARRESTED ON VIEW Location: 51 TALLMAN 5T

DOB: 05/12/1982 Age: 24

Arrested by: 3757 RAMOS, SHAIN E

 

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Charges:

Chap:266 Sec:120 Charge: TRESPASS PRIVATE PROPERTY

Chap:94C Sec:34 Charge: UNLAWFUL POSSESSION CLASS D SUBSTAN
Chap:94C Sec:32A Charge: POSSESSION CLASS B SUBSTANCE INTENT
Chap:94C Sec:327 Charge: POSS INTENT TO DISTRIBUTE CLASS B 5S
Chap:94C Sec:40 Charge: CONSPIRACY TO VIOLATE CONTROLLED SU

Prisoner's Property:

3 RINGS

NECKLACE

WATCH

BELT

HAT

Person Type: ARRESTED OR SUMMONSED Name: SANCHEZ, LUIS Seq?:
Arrest Date: 06/17/06 Time: 11:30 MNI#: 167095 oOBTN#: TNEBOOO075455
Arrest Type: ARRESTED ON VIEW Location: 51 TALLMAN ST

DOB: 03/27/1989 Age: 18

Arrested by: 3757 RAMOS, SHAIN E
Charges:

Chap:94C Sec:32C Charge: POSSESSION CLASS D SUBSTANCE INTENT
Chap:94C Sec:327 Charge: POSS INTENT TO DISTRIBUTE CLASS D $

Prisoner's Property:

 

 

 

 

 

 

 

 

 

BELT
DOO~RAG
NECKLACE
CONDOM
$00.59
COLOGNE

NO CITATIONS ASSOCIATED TO THIS REPORT

NO TOWS ASSOCIATED TO THIS REPORT

PROPERTY

Status: SEIZED Type: CRACK COCAINE -PLASTIC BAG(S}

 

 

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Qty: 000000200.600 GRAM(S) Desc: 9 P.B. SUBS
OCIB Case#: 06-0C159 Prop.Tag#: 00172886 Recov.OFC: 3788
Status: SEIZED Type: CRACK COCAINE ~PLASTIC BAG(S)}
Qty: 000000000.490 GRAM(S} Desc: 1 P.B. SUBS
OCIB Case#: 06-0C159 Prop.Tag#: 00172888 Recov.OFC: 3788
Status: SEIZED Type: CRACK COCAINE -PLASTIC BAG{(S}
Qty: 000000000.200 GRAM(S) Desc: 1 P.B. SUBS
OCIB Case#: 06-0C159 Prop.Tag#: 00172889 Recov.OFC: 3788
Status: SEIZED Type: MARIJUANA -~BAGGED MARIJUANA
Oty: 000000010.000 GRAM(S) Desc: 21 P.B. GRN VEG
OCIB Case#: 06-0C159 Frop.Tag#: 00172890 Recov.OFC: 3788
Status: SEIZED Type: MARIJUANA -BURNT MARIJUANA CIGARETTE
Qty: 000000002.000 DOSAGE UNIT/ITEMS Desc: 2 BURNT CIGS
OCIB Case#: 06-0C159 Prop.Tag#: 00172891 Recov.OFC: 3788
Type : MONEY Property Status: SEIZED
Oty: Brand/Make: U.S. CURRENCY Model:
Article Value: 000000151 Article Number: 00172892
Serial #:
Description: $151.00
Owner:
Type : MONEY Property Status: SEIZED
Oty: Brand/Make: U.S. CURRENCY Model:
Article Value: 000000601 Article Number: 00172893
Serial #:
Description: $601.00
Owner:
Total Property Value Stolen: §& 0 Recovered: $ 0

PHOTOS AND FINGERPRINTS

Processed: NO By: Photos: NO Prints:

 

NARRATIVE

 

Sir,

On Saturday, June 17, 2006 members of the New Bedford Police Organized Crime
Intelligence Bureau (O.C.I.B.) conducted an undercover street operation. The
focus of this operation is to target street level narcotics distribution

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conducted by members and associates of the Latin Kings, which is street gang
known for its propensity for viocience and drug related activity. The Latin
Kings have plagued the North Front Street are with drugs and violence.

During my tenure within the narcotics unit I have been involved in a number of
arrests involving members of this street gang for the distribution of various
controlled substances. During this operation Detective Sergeants Paul Oliveira
and Robert Aguiar were operating undercover surveillance vehicles and
established undercover surveillance in the area.

Detective Sergeant Oliveira obtained a surveillance point, which gave him an
unobstructed view of the rear yards of 51 Tallman Street and the abutting yard
of 325 North Front Street, which is within 1000 feet of the Saint Anthony's
School.

Detective Sergeant Oliveira was in radio contact with other members of the
operation and gave us specific details to his observations. At the outset of
his surveillance point Detective Sergeant Oliveira immediately identified
co-defendants Ricardo Encarnacion DOB- 05/12/82 and Luis Sanchez DOB-03/27/89,
both of whom have pending drug cases with 0.C.1I.B. and known to be members of
the Latin Kings. Detective Sergeant Oliveira also provided a physical
description of co-defendants Melanie Bonneau DOB-03/02/88 (i.e. white female,
wearing blue jeans and a tan tank top) and Terrill Mckissack DOB+11/21/87 (i.e.
dark skin black male, wearing a black T-shirt and doo-rag}).

During ongoing surveillance Detective Sergeant Oliveira observed a number of
drug customers enter the yard where he observed hand-to-hand transactions
between either Encarnacion or Mckissack and these unknown drug customers. Of
these drug customers Detective Sergeant Oliveira and Sergeant Aguiar were able
to direct Detectives assigned to cruisers to the stop of two of these
customers.

Detective Sergeant Oliveira directed Detective John Encarnacao and I to the
stop of Juan Molina DOB-09/30/64, who was wearing a blue shirt and operating a
blue vehicle bearing Massachusetts’ registration 742D63 at the intersection of
Sawyer Street and Acushnet Avenue. Upon approaching the vehicle on foot fT
neticed Molina abruptly move his hand to his mouth. Molina was removed from the
vehicle, however it is believed he ingested the cocaine he had just purchased.
Molina was queried through N.C.I.C. and subsequently released,

During this time Detective Sergeant Aguiar directed Detectives John Pereira and
Daniel Amaral to the stop of Joseph Costa DOB-02/28/58, who entered the rear
yard on foot wearing a red shirt. Detectives stopped Costa on Acushnet Avenue
between Nye and Bullard Streets. As Detectives approached Costa in the
un-marked cruiser they could clearly see that Costa had the substance J his
mouth and swallowed it as they approached. They attempted to extract the
substance from his mouth, however he was able to ingest it. Costa later
admitted that he purchased seven dellars worth of crack cocaine from the guys
in the yard, Costa stated he is familiar with the area and just walks the block
when he is looking to buy crack cocaine. Costa was also queried through
N.C.1.C. and released.

During the stop of these males Detective Sergeant Oliveira observed Fncarnacion
repeatedly go back to an area at the back of the porch at the rear of 51

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Tallman Street where Detective Sergeant Oliveira believed he had stashed his
cocaine for sales. Note based on our training and experience we are well aware
that drug dealers commonly stash their drug for sale in the area so that it
stopped they would not be found in possession of any contraband. Refer to
Detective Sergeant Oliveira's surveillance report for further details in
regards to his observations.

Following these stops Detective Sergeant Oliveira elected to move in and stop
the parties congregating in the rear of 51 Tallman Street. While assisting
Detectives were rallying in the area to make an approach, Detective Sergeant
Cliveira informed us that Bonneau had just rolled a marijuana blunt and it was
being passed between the co-defendants (Mckissack, Encarnacion and Sanchez).

Detectives assigned to cruiser then made an approach into the area from Tallman
Street. As we entered the yard Sanchez had waiked out to North Front Street and
noticed us approaching. Sanchez then exited the yard and started running
northerly on North Front Street. Sanchez then ducked into a yard where
Detective Sergeant Aguiar was on foot in an abutting yard to the west.
Detective Sergeant Aguiar observed Sanchez reach into the front of his
waistband and motion as if he was discarding an item behind a disposal shed in
the yard. Detective Sergeant Aguiar yelled for assistance as he attempted to
scale the fence to get into the yard Sanchez was attempting to hide in.

Detectives Encarnacao, Amaral, Sergeant Oliveira and I entered the yard to take
Sanchez into custody. Sanchez was ordered to the ground and ordered to place
his hands in the smail of -his back, Sanchez did not ad hear to our demands and
a struggle ensued between him and assisting Detectives. Once Sanchez was secure
Detective Amaral checked the area of the disposal shed and found a sandwich bag
containing 21 individual bags of marijuana, weighing approximately 10 grams
with packaging. Detective Encarnacao recovered $601.00 in U.S. currency from
Sanchez’ left front pocket, which was later seized as drug proceeds. Sanchez
was then escorted to the yard of $1 Tallman Street.

Detectives Tyrone Jones and Pereira secured co-defendants Encarnacion,
Mckissack and Bonneau in the rear yard of 51 Tallman Street. Detective Jones
conducted searched the area of the rear poren and located a sandwich bag
containing 10 individual bags of crack cocaine. Note this is the same area
where Detective Sergeant Oliveira had previously observed Encarnacion go to.
Detective Jones also removed the contents of Encarnacion's pocket and found a
corner bag containing crack cocaine in his right front pocket, which was
packaged consistent to the bags seized from the porch. In addition Detective
Jones recovered $151.00 in U.S. currency from his left front pocket, which was
later seized as proceeds.

Detective Pereira recovered two (2) marijuana blunts that, which were both
Still warm to the touch and smoldering from the ground near the porch where
these parties were standing. Note neither of these parties lives at 51 Tallman
Street nor in this area.

At this time the prisoner transport van was summoned for transport. Detective
Encarnacao searched around the porch where Detective Jones recovered the
cocaine and found a number of baggies with the corners cut, which would
indicate that the crack cocaine is being packaged right in the yard.

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A short time later the prisoner transport van arrived on scene. The arrested
parties were escorted to the van. During this a number of peopie had gathered.
While Detectives were walking the arrested parties to the van a number of
people were walking up on the Detectives and ordered to move back. One female,
identified as Priscilla Alvarez DOB-04/25/88 kept approaching Detectives and
yelling and creating a disturbance. Alvarez was ordered several times to return
te her home, however she kept yelling and would not leave the area. Alvarez was
subsequently placed under arrest and placed in the van.

All five parties were transported into Central Booking where they were allowed
the use of the phone, booked and subsequentiy transported to the House of
Correction.

Detective Jones and Amaral processed all the drug evidence along with the
seized proceeds. These items were later handed to Detective Sergeant Aguiar to

be secured in their respective locations.

Respectfully submitted,
Detective Shain Ramos #3757

ADMINISTRATION

Electronic Signature by Logon: PEREIRA, JOHN P
Report Entered by Officer: RAMOS, SHAIN E

Unit OFC1: RAMOS, SHAIN E #: 3757 Unit: DX20Date: 06/17/06
Unit OFC2: #: Unit: DK20

Routing: Date: Div:
Clearance : Clearance Date:

Supervisor : OLIVEIRA, PAUL J #: 3750

Approved By: AGUIAR, ROBERT J #: 3017

Attachments:

Digtal Photos Attached: N

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871 Rockdale Avenue, New Bedford, MA 02740
UCR SUPPLEMENT REPORT

 

FOLLOW-UP: POSS W/I CLASS B SCHOOL

OCCURRED: 06/17/2006 11:15 TO:

RECEIVED: 06/17/2006 11:30 ARRIVED: 11:30 COMPLETED: 12:04
FOLLOW-UP ADDRESS:51 TALLMAN ST APT#

CITY.: STATE: ZIP: 41400
CENSUS TRACT: ZONE: AREA:

 

 

NO OFFENSES ASSOCIATED TO THIS REPORT

 

NO BUSINESS OR ORGANIZATION ASSOCIATED TO THIS REPORT

 

 

 

 

NO OTHER POLICE OFFICER WITNESSES ASSOCIATED TO THIS REPORT

 

 

NO ARRESTS ASSOCIATED TO THIS REPORT

 

 

NO CITATIONS ASSOCIATED TO THIS REPORT

 

 

NO TOWS ASSOCIATED TO THIS REPORT

 

 

 

NO PROPERTY ASSOCIATED TO THIS REPORT

 

Total Property Value Stolen: $% O Recovered: $ 0

PHOTOS AND FINGERPRINTS

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Processed: NO By: Photos: NO Prints:

 

NARRATIVE

On Saturday, June 17, 2006 at approximately 10:15AM I positioned myself ina
surveillance point which enabled me a view of the rear yards of 325 North Front
Street and 51 Tallman Street. These two yards are connected and from my
surveillance point I had a view of both of them. All members of the Narcotics
Division along with most members of uniform division are familiar with this
area due to the constant drug activity.

 

Many narcotic related arrests have been made as a result of surveillance being
conducted in this area. We have become very familiar with the drug dealers
that deal from this area since we have been arresting them over and over during
the last year. Never the less they return to the area and continue dealing
drugs.

From my experience cf conducting surveillance in this area and as a result of
conversations with informants I am well aware that the dealers use the backyard
because they feel they can deai their drugs without being cbserved by the
police. The dealers will often hang in the front of 325 Nerth Front Street and
when a customer arrives they will escort them inte the ally on the south side
of the house which leads to the backyard. Once in the backyard the dealer will
either retrieve the drugs from inside the back hallway or from a stash area in
the yard. After tne deal has been completed the buyer will then exit the area
back through the aily or walk out con Tallman Street.

Since we have made so many arrests in the area the dealers know better than
hanging in front of the house with drugs in their pockets. This area is one of
the worst areas in the city of New Bedford for drug activity, therefore, the
dealers are well aware that the chance of them being stopped in front of this
address is good.

Since the backyard of 325 North Front Street is open to the backyards of 45
Tallman Street and 51 Tallman Street and is viewable from the backyards of a
few houses on Nye Street we are constantly getting complaints from the nearby
residents who are living in this area and have to view this drug dealing on a
constant basis. We constantly hear from parents that they are not able to
allow their children to play in the backyards due to the around the clock
traffic of these drug users and drug dealers. Therefore, by returning to the
area to conduct surveillance we were hopeful to again arrest the dealers and
put them in jail so the kids in the neighborhood can enjoy their backyards as
most kids can do.

At the outset of my surveillance I was able to identify two known drug dealers
in the rear yard of 325 North Front Street. The first male I was familiar with
was Riccardo Encarnacion. I am very familiar with him and know him to be a
drug dealer. As a matter of fact I previously observed him make a drug deal in
this very same backyard and I am aware that the case is currently pending in

court. 1 am also aware that he has a number of other narcotic related offenses
pending in court from previous arrests. The second male I was familiar with
was Luis Sanchez. I was also familiar with him as a drug dealer since he has
been

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dealing in the area from quite some time.

There was a third male present with Encarnacion and Sanchez, however I was not
familiar with him. This male was a dark skin black male, wearing a black tee
shirt and a doo rag. There was also a female hanging around with these two
males who was white and wearing a tan tank top and blue jeans.

During my surveillance I noticed that it appeared that the maies were taking
turns going toward the front of 325 North Front Street and the other two males
would hang around the backyard. This allowed the male to direct the customers
to the back cof the house to meet with the other two dealers in order to make
the sale. During the early part of my surveillance there were no detectives in
the area to stop any cf the customers. Therefore, I was just observing the
actions of these individuals.

Once detectives were set up in the are I informed them of a male I observed
coming into the backyard who was escorted by Sanchez. Sanchez walked the male,
whe was later identified as Juan Molina over to Encarnacion who was sitting on
the back steps of 51 Tallman Street. After a short conversation Encarnarcion

get off of the stairs and walked to the back of the porch (west side). When he
got to the west side I saw him reach towards the porch, however 1 was unable to
see exactly what he was doing. (Note that during the surveillance I had

already seen him go to this location one other time before he made a deal).
Within

seconds he walked back to the male who was waiting and then conducted a hand to
hand transaction with this male. This male handed him money in exchange for an
item that Encarnacion handed back to him. After this quick transaction the
male exited back through the ally and Encarnacion sat back on the back stairs
to 51 Tallman Street. As the male exited the ally Detective Sgt. Robert Aguiar
picked up surveillance of him and directed detectives to stop him. He was in
fact stopped and he apparently swallowed the bag of cocaine in front of
detectives as they approached him.

The néxt customer I observed was wearing a red shirt, he was later identified
as Joseph Costa. Upon him walking into the back yard he approached McKissack,
who was standing in the yard. After a brief conversation McKissack approached
Encarnacion who was sitting on the back porch of 51 Tallman Street.
Encarnacion then handed him an item which he in turn handed over to Costa in
exchange for currency. After this exchange Costa exited back out the ally way
and Sgt. Aguiar follewed him out of the area and directed detectives to him.
Costa also swallowed the back of cocaine, however admitted to Detectives that
he had in fact just purchased cocaine from the male.

While these male were being stopped two other customers had entered the yard at
different times and were involved in transactions with Encarnacion. On both
occasions Encarnacion walked to the back of the porch before being observed in
the actual hand to hand transaction. Based on my observations it was quite
obvious that Encarnacion was stashing his cocaine supply in the area of the
back of the porch since he was going to the area before nearly all of the
deals.

During further surveillance I observed the female, Bonneau to be holding a
marijuana cigarette that had just been made but not rolled. She handed it over
to Sanchez who preceeded to roll it up and then light it. After lighting it he
smoked it and then handed it to McKissack. Sanchez then walked toward the

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front of 325 North Front Street.

As they smoked this marijuana cigarette Encarnarcion and McKissack sat on the
back porch of 51 Tallman Street and the female, Bonneau was standing beside
them. Sanchez was now standing in the alley near the front of 325 North Front
Street. At this time I directed nearby detectives to move in since I feit it
would be the best opportunity to move in on them without being detected too
early.

For more details of the approach refer to the arrest report by Detective Shain
Ramos.

Note that upon me arriving to the backyard of 325 North Front Street I was
informed by Detective Tyrone Jones that he had found a bag containing 19 bags
of

cocaine. He stated that he immediately had found it upon looking in the area
where I had informed him that I observed Encarnacion going before most of the
deals.

Once the arrested individuais were placed in the prisoner transport van people
in the neighborheod were actually clapping for us and giving us the thumbs up.
It was apparent that they were happy that these drug dealers were again being
arrested. The only person that did not seem happy with us was a female in the
second floor window of 325 North Front Street who was yelling cbscenities at us
and pulled her pants down and exposed her buttocks.

Respectfully submitted,

Sgt. Paul Oliveira

ADMINISTRATION

Electronic Signature by Logon: OLIVEIRA, PAUL J
Report Entered by Officer: OLIVEIRA, PAUL J

Unit OFC1: PEREIRA, JOHN P #: 3788 Unit: DX20Date: 06/23/06
Unit OFC?2: #: Unit: DX20

Routing: Date: Div:
Clearance 3: Clearance Date:

Supervisor : LIZOTTE, DAVID #: 3610

Approved By: LIZOTTE, DAVID #: 3610

Attachments:

Digtal Photos Attached: N

NEW BEDFORD POLICE DEPARTMENT
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